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IN THE uNITEl) sTATES DISTRICT COURT 20
MIDDLE DISTRICT oF FLORIDA 18 AUG 23 AH 9: 15
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vlcToRlA zADEH, CASE No.: TALMPA.`FL'Q§¢F §L UR 'UA
Plaintiff,
vs. 8‘.\% Cv 2.°°\°\/\"3 b n &€
BANK oF AMERlCA, NATIoNAL DEMAND FoR JURY TRIAL
AssoclATIoN
Defendant,
/
vERIFIED coMPLAINT

COME NOW, Plaintiff, Victoria Zadeh (hereai’ter “Plaintiff”), by and through
undersigned counsel, and hereby sue Defendant, Bank`of America, National Association (hereafter
“Defendant”), and state as follows:

PRELIMINARY STATEMENT

 

This action arises out of Defendant’s violations of the Florida Consumer Collection
_ Practices Act, Florida Statute §§ 559.55 et seq. (hereai’ter the "FCCPA”) and the Fair Debt
Collection Practices Act, 15 U.S.C. §§ 1692 et seq. (hereafter the "FDCPA").
JURISDICTION AND VENUE
l. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § l33l, Federal Question Jurisdiction, as this action involves violations of the TCPA
and/or by F.S. § 47.01 1 and/or by 28 U.S.C § 1299, diversityjurisdiction.
2. Subject matterjurisdiction, federal questionjurisdiction, for purposes of this action,`

is appropriate and conferred by 28 U.S.C. § 1331, Which provides that the district courts shall have

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original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United
States; this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii).
FACTUAL ALLEGATIONS

3. Plaintifi` is an individual residing in Pinellas County, Florida.

4. Plaintiff is a consumer as defined by the FCCPA, Fla. Stat. § 559.55(2) and the
FDCPA, 15 U.S.C. § l692(a)(3).

5. 'Defendant is a nationally chartered bank and registered with the Florida Department
of State, Division of Corporations with headquarters located in Charlotte, North Carolina.

6. Defendant is a “creditor,” as defined by the FCCPA, Fla. Stat. § 559.55(5) and by
the FDCPA, 15 U.S.C. §l692a(4), and does business throughout the state of Florida, including
Pinellas County, Florida,

7. Defendant is a “debt collector,” as defined by the FCCPA, Fla. Stat. § 559.55(7)
and FDCPA, 15 U.S.C. § 1692a(6), and does business throughout the state of Florida, including
Pinellas County, Florida,

8. Defendant is a “person” subject to regulations under Fla. Stat. § 559.72 and 47
U.S.C. § 227(b)(l).

9. The conduct of Defendant, which gives rise to the cause of action herein alleged,
occurred in this District, Pinellas County, Florida, by the Defendant’s sending of emails to
Plaintiff’ s email address in an attempt to collect a debt.

lO. Defendant, at all material times, was attempting to collect a debt relating to an
account in the name of Plaintiff ending in -1846.

11. The alleged debt that is the subject matter of this complaint is a “consumer debt”

as defined by the FCCPA, Fla. Stat. §559.55(6) and FDCPA, 15 U.S.C. §1692a(5).

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12. Plaintiff revoked any prior express consent to contact Plaintiff via emailer any other
form of communication on July 10, 2018, when Plaintiff advised Defendant via facsimile
transmission to cease any and all communication to Plaintift’ s cellular telephone.

13. All emails to Plaintiff" s email address were made after Plaintiff revoked any
“alleged” consent and without the “prior express consent” of Plaintiff.

14. In addition to the request not to be contacted by Defendant, on July 10, 2018,
Plaintiff directed Defendant to contact Plaintiff’s attorney and included the name of the law firm
representing Plaintiff and the contact information for the law firm.

15. Plaintiff’s attorney did not fail to respond within a reasonable period of time to any
communication from Defendant and did not consent to Defendant’s direct communication with
Plaintiff.

16. All conditions precedent to the filing of this lawsuit have been performed or have
occurred.

MT_I
vloLATloN oF THE FCCPA, FLA. sTAT. § 559.72(18)

17. Plaintiff incorporates all allegations in paragraphs 1-16 as if stated fully herein.

18. Jurisdiction is proper, pursuant to Florida Statute § 559.77(1).

19. Defendant violated the FCCPA, Fla. Stat. § 559.72(18), when it knowingly
communicated with Plaintiff after it knew Plaintiff was represented by counsel and could
reasonably ascertain the name and address of counsel.

20. Specifically, Defendant continued to place emails to Plaintiff`s email address
despite having actual knowledge that Plaintiff was represented by an attomey.

WHEREFORE, Plaintiff, Victoria Zadeh, demandsjudgment against Defendant, Bank of

America, National Association, for the following relief:

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a. any actual damages sustained by Plaintiff as a result of the above
allegations;

b. statutory damages pursuant to Florida Statute § 559.77(2) in the amount of
$l,OO0.00;

c. pursuant to §559.77(2), any specific or injunctive relief necessary to

make Plaintiff whole;
d. in the case of a successful action sustaining the liability of Defendant,
pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attomey’s fees incurred by Plaintiff(s); and

e. any other relief the Court deems just and proper.
COUNT II
VIOLATION OF THE FDCPA, 15 U.S.C. § 1692c(a)(2)
21. Plaintiff incorporates all allegations in paragraphs 1-16 as if stated fully herein.

22. Defendant violated the FDCPA, 15 U.S.C. § l6920(a)(2), when it knowingly
communicated with Plaintiff after it knew Plaintiff was represented by counsel and could
reasonably ascertain the name and address of counse|.

23. Specitically, Defendant continued to place emails to Plaintiff’s email account
despite having actual knowledge that Plaintiff was represented by an attomey.

WHEREFORE, Plaintiff, Victoria Zadeh, demandsjudgment against Defendant, Bank of
America, National Association, for the following relief:

a. any actual damages sustained by Plaintiff as a result of the above
allegations;
b. statutory damages pursuant to 15 U.S.C. § 1692k(a)(2) in an amount up to

$1,000.00;

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c. in the case ol` a successful action sustaining the liability of Defendant,
pursuant to 15 U.S.C. § l692k(a)(3), costs of the action, together with reasonable attorney’s fees
incurred by Plaintil`f; and -

c|. any other relief`the Court deems just and proper.

DEMAND FOR JURY TRIAL

Plaintil`fdemands a trial byjury as to all issues.

VERlFlCATlON
Under penalty ol`perjury, l have read the foregoing and it is true and correct

Victoria Zadeh

 

Date: A\lg\l$f 15, 2018 BOSS LAW

/s/ Christonher W. Boss

Christopher W. Boss, Esq.

Fla. Bar No.: 13183

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